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                                      Lee E. Goodman

                                                    pro hac vice
                                                        pro hac vice
                                              pro hac vice




                                      Joshua A. Tardy
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